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 1   Michael Moiseyev (pro hac vice)
     michael.moiseyev@weil.com
 2   Chantale Fiebig (pro hac vice)
 3   chantale.fiebig@weil.com
     WEIL, GOTSHAL & MANGES LLP
 4   2001 M Street, NW, Suite 600
     Washington, DC 20036
 5   Telephone: (202) 682-7000
     Facsimile: (202) 857-0940
 6

 7   Mark C. Hansen (pro hac vice)
     mhansen@kellogghansen.com
 8   Aaron M. Panner (pro hac vice)
     apanner@kellogghansen.com
 9   KELLOGG, HANSEN, TODD, FIGEL &
       FREDERICK, P.L.L.C.
10   1615 M Street, NW, Suite 400
11   Washington, DC 20036
     Telephone: (202) 326-7900
12   Facsimile: (202) 326-7999

13
     Counsel for Defendant Meta Platforms, Inc.
14

15   (Additional Counsel Listed on Signature Page)

16                                UNITED STATES DISTRICT COURT
17                             NORTHERN DISTRICT OF CALIFORNIA
18                                        SAN JOSE DIVISION
19    FEDERAL TRADE COMMISSION,                      Case No. 5:22-cv-04325-EJD
20
             Plaintiff,                              DEFENDANT META PLATFORMS,
21    v.                                             INC.’S AND ODDERS LAB’S JOINT
                                                     STATEMENT IN SUPPORT OF
22    META PLATFORMS, INC., et al.,                  SEALING CERTAIN CONFIDENTIAL
                                                     BUSINESS MATERIAL FILED BY
23           Defendants.                             PLAINTIFF PROVISIONALLY UNDER
24                                                   SEAL [ECF NO. 515] [L.R. 79-5(f)(3)]

25                                                   Dept.: Courtroom 4 – 5th Floor
                                                     Judge: Hon. Edward J. Davila
26

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     META AND ODDERS LAB JOINT
     CIV. L. R. 79-5(F)(3) STATEMENT                                Case No. 5:22-cv-04325-EJD
             Case 5:22-cv-04325-EJD Document 538 Filed 01/04/23 Page 2 of 7




 1             Pursuant to Civil Local Rule 79-5(f)(3), Defendant Meta Platforms, Inc. (“Meta”) and non-

 2   party Odders Lab (“Odders”) respectfully request that the Court maintain under seal the confidential

 3   information identified below, which was provisionally filed under seal pursuant to Plaintiff Federal

 4   Trade Commission’s (“FTC” or “Plaintiff”) Administrative Motion to Consider Whether Another

 5   Party’s Material Should be Sealed (“Plaintiff’s Motion”) (ECF No. 515). Applying the appropriate

 6   legal standards in this District, this sealing request narrows the information that would be maintained

 7   under seal in the FTC’s Post-Hearing Findings of Fact and Conclusions of Law (hereafter “FoF-

 8   CoL”).

 9             Odders is not a party to this litigation, but it has previously submitted a declaration in support

10   of sealing this same information in connection with another motion (ECF No. 384). As described in

11   the declaration of Jaime Pichardo Garcia, attached as Exhibit A, compelling reasons exist to again

12   maintain this information under seal. And although Meta did not designate this information as

13   confidential, Meta joins this statement because the information sought to be sealed reflects highly

14   proprietary details of its financial relationship with Odders. Meta also previously supported sealing

15   this information (ECF No. 369) and this Court granted that motion to seal (ECF No. 402). The Court

16   should thus maintain under seal the information identified below.

17       Page and Line            Portion(s) to Maintain Under Seal         Basis for Sealing Request 1
18       Portion of Finding of    All information highlighted teal in       This paragraph contains non-
         Fact ¶ 351               the unredacted FoF-CoL                    public and highly confidential
19                                                                          information about Odders’
                                                                            relationship with Meta,
20
                                                                            including sensitive financial
21                                                                          aspects of that relationship.
         Portion of Finding of    All information highlighted teal in       This paragraph contains non-
22       Fact ¶ 352               the unredacted FoF-CoL                    public and highly confidential
23                                                                          information about Odders’

24
     1
         This chart notes the competitively sensitive nature of the information sought to be sealed. For all
25
     of these entries, the unsealing of this highly confidential and sensitive information would cause
26
     injury to Meta that could not be avoided through less restrictive alternatives, particularly given that
27
     Meta has narrowed the information it seeks to maintain under seal.
28                                                   1
     META AND ODDERS LAB JOINT
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      Page and Line             Portion(s) to Maintain Under Seal        Basis for Sealing Request 1
 1
                                                                         relationship with Meta,
 2                                                                       including sensitive financial
                                                                         aspects of that relationship.
 3
     The proposed redactions above reflect Meta’s and Odders’ good-faith effort to seek sealing of only
 4
     that information which is competitively sensitive, contained in internal documents only, and cannot
 5
     be protected from public disclosure through any more restrictive means.
 6
     I.     Sealing Limited Portions of Plaintiff’s FoF-CoL Containing Meta’s and Odders’
 7
            Confidential Business Information Is Warranted Under Ninth Circuit Precedent
 8          In the Ninth Circuit, “[p]arties seeking to seal judicial records relating to motions that are
 9   ‘more than tangentially related to the underlying cause of action,’ bear the burden of overcoming the
10   presumption with ‘compelling reasons supported by specific factual findings that outweigh the
11   general history of access and the public policies favoring disclosure.’” Lenovo (United States) Inc.
12   v. IPCom GmbH & Co., KG, No. 19-CV-01389-EJD, 2022 WL 2313948, at *1 (N.D. Cal. June 28,
13   2022). Courts in this Circuit regularly find that sealing is warranted where the records or information
14   that is sought to be sealed could be used “as sources of business information that might harm a
15   litigant’s competitive standing.” Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978);
16   In re Electronic Arts, Inc., 298 Fed. Appx. at 569 (same); Velasco v. Chrysler Grp. LLC, No. CV 13-
17   08080, 2017 U.S. Dist. LEXIS 11773, at *8 (C.D. Cal. Jan. 26, 2017) (stating that “district courts in
18   this Circuit have sealed records containing ‘information about proprietary business operations, a
19   company’s business model or agreements with clients,’ . . . ‘internal policies and strategies’”).
20          “The Ninth Circuit has explained that in general, compelling reasons sufficient to outweigh
21   the public’s interest in disclosure and justify sealing court records exist when such court files might
22   have become a vehicle for improper purposes, such as the use of records to . . . release trade secrets.”
23   Velasco, 2017 U.S. Dist. LEXIS 11773, at *7 (quoting In re Elect. Arts, Inc., 298 F. App’x at 569
24   (“A ‘trade secret may consist of any formula, pattern, device or compilation of information which is
25   used in one’s business, and which gives him an opportunity to obtain an advantage over competitors
26   who do not know or use it.’”)). A court has “broad latitude” to grant protective orders to prevent
27   disclosure of “many types of information, including, but not limited to, trade secrets or other
28                                                      2
     META AND ODDERS LAB JOINT
     CIV. L. R. 79-5(F)(3) STATEMENT                                       Case No. 5:22-cv-04325-EJD
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 1   confidential research, development, or commercial information.” Phillips ex rel. Estates of Byrd v.

 2   General Motors Corp., 307 F.3d 1206, 1211 (9th Cir. 2002).

 3   II.     Sealing Limited Portions of Plaintiff’s FoF-CoL Is Necessary to Protect Meta’s and
             Odders’ Confidential and Proprietary Business Information
 4
             Meta and Odders seek to maintain under seal narrowly tailored excerpts of Plaintiff’s FoF-
 5
     CoL that contain information on the financial relationship between Meta and Odders Lab. The Court
 6
     has previously sealed this exact information. See See ECF No. 402. And for good reason: Disclosure
 7
     of this information would provide Meta’s competitors with private data about Meta’s financial
 8
     relationships with third parties, which could harm both Meta’s and Odders’ competitive standing. See
 9
     Cont’l Auto. Sys. v. Avanci, LLC, No. 19-cv-02520-LHK, 2019 U.S. Dist. LEXIS 212794, at *13
10
     (N.D. Cal. Dec. 5, 2019). Further, Meta’s and Odders’ proposed redactions are narrowly tailored to
11
     include only the specific portions of Plaintiff’s FoF-CoL that reflect confidential information, and
12
     thus do not unduly limit public access.
13
     III.    Conclusion
14
             Compelling reasons justify Meta’s and Odders’ request for sealing of their confidential
15
     business information in Plaintiff’s FoF-CoL. Meta and Odders respectfully requests that this Court
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     grant Plaintiff’s Motion to Seal.
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     META AND ODDERS LAB JOINT
     CIV. L. R. 79-5(F)(3) STATEMENT                                     Case No. 5:22-cv-04325-EJD
          Case 5:22-cv-04325-EJD Document 538 Filed 01/04/23 Page 5 of 7




 1

 2   DATED: January 4, 2023              Respectfully submitted,
 3                                       By: /s/ Bambo Obaro       _
 4
                                         Bambo Obaro (Bar No. 267683)
 5                                       WEIL, GOTSHAL & MANGES LLP
                                         201 Redwood Shores Parkway, 6th Floor
 6                                       Redwood Shores, CA 94065-1134
                                         Telephone: (650) 802-3000
 7                                       Facsimile: (650) 802-3100
 8                                       bambo.obaro@weil.com

 9                                       Michael Moiseyev (pro hac vice)
                                         Chantale Fiebig (pro hac vice)
10                                       WEIL, GOTSHAL & MANGES LLP
                                         2001 M Street, NW, Suite 600
11
                                         Washington, DC 20036
12                                       Telephone: (202) 682-7000
                                         Facsimile: (202) 857-0940
13                                       michael.moiseyev@weil.com
                                         chantale.fiebig@weil.com
14
                                         Liz Ryan (pro hac vice)
15                                       WEIL, GOTSHAL & MANGES LLP
                                         200 Crescent Court, Suite 300
16                                       Dallas, TX 75201
                                         Telephone: (214) 746-7700
17
                                         Facsimile: (214) 746-7777
18                                       liz.ryan@weil.com

19                                       Eric S. Hochstadt (pro hac vice)
                                         WEIL, GOTSHAL & MANGES LLP
20                                       767 Fifth Avenue
21                                       New York, NY 10153
                                         Telephone: (212) 310-8000
22                                       Facsimile: (212) 310-8007
                                         eric.hochstadt@weil.com
23

24

25

26

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     META AND ODDERS LAB JOINT
     CIV. L. R. 79-5(F)(3) STATEMENT                           Case No. 5:22-cv-04325-EJD
          Case 5:22-cv-04325-EJD Document 538 Filed 01/04/23 Page 6 of 7




                                         Mark C. Hansen (pro hac vice)
 1                                       Aaron M. Panner (pro hac vice)
 2                                       Julius P. Taranto (pro hac vice)
                                         Alex A. Parkinson (pro hac vice)
 3                                       Ana N. Paul (pro hac vice)
                                         L. Vivian Dong (pro hac vice)
 4                                       KELLOGG, HANSEN, TODD, FIGEL &
                                            FREDERICK, P.L.L.C.
 5                                       1615 M Street, NW, Suite 400
 6                                       Washington, DC 20036
                                         Telephone: (202) 326-7900
 7                                       Facsimile: (202) 326-7999
                                         mhansen@kellogghansen.com
 8                                       apanner@kellogghansen.com
                                         jtaranto@kellogghansen.com
 9                                       aparkinson@kellogghansen.com
10                                       apaul@kellogghansen.com
                                         vdong@kellogghansen.com
11
                                         Counsel for Defendant Meta Platforms,
12                                       Inc.
13
                                         By: /s/ Jaime Pichardo Garcia   _
14
                                         Jaime Pichardo Garcia
15                                       Odders Lab

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     META AND ODDERS LAB JOINT
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                      ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1
 1

 2          I, Bambo Obaro, am the ECF User whose ID and password are being used to file the
     foregoing. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that all signatories
 3   concurred in this filing, and I shall maintain records to support this concurrence for subsequent
     production for the Court if so ordered or for inspection upon request by a party.
 4

 5   Dated: January 4, 2023                                       /s/ Bambo Obaro
 6                                                                BAMBO OBARO
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     META AND ODDERS LAB JOINT
     CIV. L. R. 79-5(F)(3) STATEMENT                                      Case No. 5:22-cv-04325-EJD
